                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:21-CR-24-MOC


  UNITED STATES OF AMERICA                       )
                                                 )
         vs.                                     )
                                                 )
  STEVIE LYNN BARDWIL,                           )
                                                 )
        Defendant.                               )
                                                 )
                                                 )


      THIS MATTER is before the Court on Defendant’s Motion for Extension of Time to

Report to the Bureau of Prisons (“BOP”). (Doc. No. 30). Defendant seeks an extension up to

December 30, 2022, to report to the BOP.

       Defendant’s Motion for Extension of Time to Report to BOP, (Doc. No. 30), is

GRANTED, and Defendant shall have until December 30, 2022, in which to report to BOP.

       IT IS SO ORDERED.

                            Signed: December 2, 2022




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